         Case 5:98-cr-00036-RH    Document 459     Filed 08/22/15   Page 1 of 7
                                                                                  Page 1 of 7




             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                             CASE NO. 5:98cr36-RH

CORY FLUELLEN,

                  Defendant.

________________________________/


            ORDER ESTABLISHING PROCEDURES ON A POSSIBLE
             SENTENCE REDUCTION UNDER AMENDMENT 782


         The defendant Cory Fluellen has moved to reduce his sentence based on

United States Sentencing Guidelines Amendment 782. This order sets out my

preliminary analysis showing that Mr. Fluellen is eligible for a reduction, gives

notice to both sides of information received from the probation officer on Mr.

Fluellen’s prison disciplinary record, and gives both sides an opportunity to be

heard.

                                           I

         The Sentencing Guidelines establish a guideline range for each defendant.

The range is based on the defendant’s “total offense level” and “criminal history

category.” The total offense level is based on the defendant’s “base offense level”



Case No. 5:98cr36-RH
         Case 5:98-cr-00036-RH   Document 459     Filed 08/22/15   Page 2 of 7
                                                                                 Page 2 of 7




with increases or decreases based on specific offense characteristics. For drug

offenses, the base offense level ordinarily turns on the type and quantity of drugs

properly attributed to the defendant. See U.S. Sentencing Guidelines Manual

(“Guidelines Manual”) § 2D1.1 (2014).

         Amendment 782 became effective on November 1, 2014. The amendment

reduced the base offense level for most drug offenses. This came after earlier

amendments that also reduced the base offense level for most crack-cocaine

offenses. Amendment 706 became effective on November 1, 2007; Amendment

715 became effective on May 1, 2008; and Amendment 750 became effective on

November 1, 2011.

                                          II

         When the Sentencing Commission adopts an amendment reducing a

guideline range, the Commission has express statutory authority—indeed, it may

even have a statutory duty—to determine whether and under what circumstances a

court will be allowed to apply the amendment retroactively to a sentence imposed

prior to the amendment’s effective date. The statute provides: “If the Commission

reduces the term of imprisonment recommended in the guidelines applicable to a

particular offense or category of offenses, it shall specify in what circumstances

and by what amount the sentences of prisoners serving terms of imprisonment for

the offense may be reduced.” 28 U.S.C. § 994(u).



Case No. 5:98cr36-RH
         Case 5:98-cr-00036-RH      Document 459      Filed 08/22/15   Page 3 of 7
                                                                                      Page 3 of 7




         When the Commission determines that an amendment may be applied

retroactively, a court may reduce a sentence, but only under the circumstances and

to the extent specified by the Commission. The court may act on its own motion or

on motion of a defendant or the Bureau of Prisons. The statute that authorizes a

sentence reduction provides:

             [I]n the case of a defendant who has been sentenced to a term of
             imprisonment based on a sentencing range that has subsequently
             been lowered by the Sentencing Commission pursuant to 28 U.S.C.
             994(o), upon motion of the defendant or the Director of the Bureau
             of Prisons, or on its own motion, the court may reduce the term of
             imprisonment, after considering the factors set forth in section
             3553(a) to the extent that they are applicable, if such a reduction is
             consistent with applicable policy statements issued by the
             Sentencing Commission.

18 U.S.C. § 3582(c)(2).

         The “applicable policy statements issued by the Sentencing Commission,”

within the meaning of § 3582(c)(2), are set out in Guidelines Manual § 1B1.10.

As set out there, proceedings under § 3582(c)(2) “do not constitute a full

resentencing of the defendant.” Guidelines Manual § 1B1.10(a)(3). Reductions

under § 3582(c)(2) thus may be—and most commonly have been—handled on

written submissions, without a hearing.

                                             III

         Acting under its § 994(u) authority, the Commission amended Guidelines

Manual § 1B1.10 to include Amendment 782 in the list of retroactive amendments.



Case No. 5:98cr36-RH
         Case 5:98-cr-00036-RH     Document 459     Filed 08/22/15   Page 4 of 7
                                                                                   Page 4 of 7




The change took effect on November 1, 2014. But the Commission provided that a

sentence reduction under Amendment 782 cannot take effect until November 1,

2015.

         The Guidelines impose explicit limits. First, a court must not reduce a

sentence unless the amendment changed the defendant’s guideline range. See id.

§ 1B1.10(a)(1). Second, the Guidelines limit the extent of any reduction. For a

sentence within the original guideline range, a reduced sentence must not be below

the low end of the amended guideline range. See id. § 1B1.10(b)(2)(A). For a

sentence that was below the original guideline range as a result of a government

motion indicating the defendant provided substantial assistance in the investigation

or prosecution of others, a reduction to a sentence “comparably less than the

amended guideline range . . . may be appropriate.” Id. § 1B1.10(b)(2)(B). Finally,

the reduced term of imprisonment must not be less than any applicable minimum

mandatory sentence, see id. § 1B1.10, cmt. n.1(A), nor less than the time the

defendant has already served, see id. § 1B1.10(b)(2)(C).

                                           IV

         Mr. Fluellen was sentenced on March 20, 2000. His total offense level was

40, the criminal history category was III, and the guideline range was 360 months

to life. The minimum mandatory sentence was 10 years. The district judge who




Case No. 5:98cr36-RH
         Case 5:98-cr-00036-RH    Document 459     Filed 08/22/15   Page 5 of 7
                                                                                  Page 5 of 7




was presiding over the case at that time sentenced Mr. Fluellen to 360 months, the

low end of the guideline range.

         Under Amendments 706 and 715, Mr. Fluellen’s recalculated total offense

level was 38, the criminal history category remained III, and the amended

guideline range thus was 292 to 365 months. By order entered on April 24, 2008,

the court reduced Mr. Fluellen’s sentence to 292 months.

         Under Amendment 750, Mr. Fluellen’s recalculated total offense level was

36, the criminal history category remained III, and the amended guideline range

was 235 to 293 months. By order entered on February 15, 2012, the court reduced

Mr. Fluellen’s sentence to 235 months.

         Under Amendment 782, Mr. Fluellen’s recalculated total offense level is 34,

the criminal history category remains III, and the amended guideline range is 188

to 235 months. Amendment 782 would allow a reduction of Mr. Fluellen’s

sentence to not less than 188 months or time served.

                                          V

         Any reduction is discretionary. In deciding whether and how much to

reduce a defendant’s sentence (within the limits set out above), a court may

consider the sentencing factors listed in 18 U.S.C. § 3553(a), the nature and

seriousness of the danger that a reduction would pose to any person or the




Case No. 5:98cr36-RH
         Case 5:98-cr-00036-RH       Document 459     Filed 08/22/15   Page 6 of 7
                                                                                     Page 6 of 7




community, and the defendant’s post-sentencing conduct. See Guidelines Manual

§ 1B1.10 cmt. n.1(B).

         The probation officer has provided a memorandum addressing Mr.

Fluellen’s extensive disciplinary record in the Bureau of Prisons. If accurately

recounted in the memorandum, the disciplinary record would allow the court to

deny any further sentence reduction. A copy of the probation officer’s

memorandum is attached to this order.

         So that the issues may be properly considered,

         IT IS ORDERED:

         1.       By September 21, 2015, the government may file a memorandum

addressing the possible reduction of Mr. Fluellen’s sentence. By the same date, the

government may file materials in support of its position.

         2.       Also by September 21, 2015, Mr. Fluellen may file a memorandum

and supporting materials addressing his prison disciplinary record or any other

issue.

         3.       Mr. Fluellen’s motion to reduce his sentence will be taken under

advisement based on the record compiled as of September 21, 2015, and a ruling

may—and probably will—be entered without a hearing.




Case No. 5:98cr36-RH
         Case 5:98-cr-00036-RH       Document 459     Filed 08/22/15   Page 7 of 7
                                                                                     Page 7 of 7




         4.       The clerk must provide a copy of this order to Mr. Fluellen himself by

mail and to the attorneys of record and the Federal Public Defender through the

electronic filing system.

         SO ORDERED on August 22, 2015.

                                           s/Robert L. Hinkle
                                           United States District Judge




Case No. 5:98cr36-RH
